Case 8:21-cv-02956-MSS-SPF Document 15 Filed 12/22/21 Page 1 of 6 PageID 160




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

MICHAEL FLYNN,

      Plaintiff,

v.                                                Case No: 8:21-cv-2956-MSS-SPF

NANCY PELOSI, in her official
capacity as Speaker of the United
States House of Representatives, et al.,

      Defendants.


                                      ORDER

      THIS CAUSE comes before the Court for consideration of Plaintiff’s Time-

Sensitive Motion for Temporary Restraining Order and Preliminary Injunction. (Dkt.

4) For the reasons that follow, the Motion for Temporary Restraining Order is

DENIED WITHOUT PREJUDICE.

      Lieutenant General Michael Flynn (Ret.) brought this action on December 21,

2021, seeking to prohibit the enforcement of a subpoena he received from the House

Select Committee to Investigate the January 6th Attack on the United States Capitol.

(Dkt. 1) On November 8, 2021, the Select Committee served the subpoena on Flynn.

(Id. at ¶ 53) The subpoena sought the production of twenty categories of documents,

including “[a]ll documents and communications relating to the January 6, 2021, attack

on the U.S. Capitol.” (Dkt. 1-1 at 6-7) The subpoena directed Flynn to produce
Case 8:21-cv-02956-MSS-SPF Document 15 Filed 12/22/21 Page 2 of 6 PageID 161




responsive documents by November 23, 2021, and to appear for a deposition at the

United States Capitol Building at 10:00 a.m. on December 6, 2021. (Id. at 2)

      Following service of the subpoena, the Select Committee agreed to postpone

Flynn’s deposition to December 20, 2021. (Dkt. 4-2 at ¶ 6) Then, on December 16,

2021, the Select Committee announced that it would postpone Flynn’s deposition to

“a date to be determined.” (Id. at ¶ 7) There is no evidence in the record that the

deposition has been rescheduled. On the same day the deposition was postponed, the

Select Committee announced that it “still expected General Flynn to produce

documents.” (Id.) Flynn has not, however, provided any information about the date

by which the Select Committee currently expects him to produce documents. Notably,

the deadline set by the subpoena—November 23, 2021—passed four weeks ago.

      Flynn now seeks entry of a temporary restraining order prohibiting

Defendants—Speaker Nancy Pelosi, the Select Committee, and the nine members of

the Committee—from enforcing the subpoena against him. (Dkt. 4) Flynn also

requests that the Court enjoin Defendants from enforcing “any third-party subpoena

seeking General Flynn’s cell phone data.” (Id. at 9) With respect to the latter request,

Flynn alleges, on information and belief, that “the Select Committee has issued or

intends to issue a subpoena to telecommunications providers regarding General

Flynn’s subscriber information and cell phone data.” (Dkt. 1 at ¶ 64) There is no

evidence in the record as to the content of such a subpoena or any deadlines it sets for

the production of responsive documents.




                                           2
Case 8:21-cv-02956-MSS-SPF Document 15 Filed 12/22/21 Page 3 of 6 PageID 162




       The Motion for Temporary Restraining Order is due to be denied without

prejudice. To obtain a temporary restraining order, a movant must establish “(1) a

substantial likelihood of success on the merits; (2) that irreparable injury will be

suffered if the relief is not granted; (3) that the threatened injury outweighs the harm

the relief would inflict on the non-movant; and (4) that entry of the relief would serve

the public interest.” Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1225-26 (11th

Cir. 2005). Federal Rule of Civil Procedure 65(b) permits a court to “issue a temporary

restraining order without written or oral notice to the adverse party or its attorney only

if” (i) “specific facts in an affidavit or a verified complaint clearly show that immediate

and irreparable injury, loss, or damage will result to the movant before the adverse

party can be heard in opposition,” and (ii) “the movant’s attorney certifies in writing

any efforts made to give notice and the reasons why it should not be required.”

Likewise, Local Rule 6.01(b) requires a motion for temporary restraining order to be

accompanied by a legal memorandum that establishes, among other things, “the

irreparable nature of the threatened injury and the reason that notice is impractical.”

       Flynn has failed to comply with these procedural requirements. First, he has not

submitted a certification from his counsel describing “any efforts made to give notice

and the reasons why it should not be required.” Fed. R. Civ. P. 65(b)(1)(B). Flynn’s

counsel submitted a declaration stating that on December 20, 2021, counsel “verbally

informed the Committee that [General Flynn] would seek the intervention of the

courts to resolve the impasse over General Flynn’s rights and privileges in order to

facilitate his cooperation with the Committee, and submitted a formal letter noting the


                                            3
Case 8:21-cv-02956-MSS-SPF Document 15 Filed 12/22/21 Page 4 of 6 PageID 163




same on December 21, 2021.” (Dkt. 4-2 at ¶ 9) Notably, Flynn has not attached a copy

of the “formal letter” his counsel sent to the Select Committee. Moreover, there is no

evidence that Flynn’s counsel provided any notice—through formal service or

otherwise—of the motion for temporary restraining order. See Kazal v. Price, No.

8:17-CV-2945-T-23AAS, 2017 WL 6270086, at *4 (M.D. Fla. Dec. 8, 2017) (denying

motion for temporary restraining order because “[t]he plaintiffs’ attorneys fail to

submit an affidavit certifying an effort to notify Price about the motion and fail to

explain the necessity for an ex parte order” (emphasis added)). Nor is there any

explanation of why notice “should not be required” or would be “impractical.” Fed.

R. Civ. P. 65(b)(1)(B); M.D. Fla. Local Rule 6.01(b)(2). In addition, there is no

evidence that Flynn’s counsel made any effort to provide notice to Speaker Pelosi, who

is not a member of the Select Committee and who is sued in her official capacity as

Speaker of the House. (Dkt. 1 at ¶ 11) Flynn’s failure to provide the information

required under Rule 65(b)(1)(B) and Local Rule 6.01(b) is fatal to his request for a

temporary restraining order without notice. Dragados USA, Inc. v. Oldcastle

Infrastructure, Inc., No. 20-CV-20601, 2020 WL 733037, at *3 (S.D. Fla. Feb. 13,

2020).

         Second, Flynn has not set forth “specific facts in an affidavit or a verified

complaint clearly show[ing] that immediate and irreparable injury, loss, or damage

will result to [him] before the adverse party can be heard in opposition.” Fed. R. Civ.

P. 65(b)(1)(A). As noted above, on December 16, 2021, the Select Committee

postponed Flynn’s deposition to “a date to be determined.” (Dkt. 4-2 at ¶ 7) Although


                                           4
Case 8:21-cv-02956-MSS-SPF Document 15 Filed 12/22/21 Page 5 of 6 PageID 164




the Select Committee indicated that it continues to expect Flynn to produce responsive

documents, the initial production deadline passed on November 23, 2021, and there

is no evidence in the record as to the date by which the Select Committee now expects

Flynn to comply with its document requests. (Id.) Flynn does not assert, for example,

that the Committee expects him to produce responsive documents by the end of the

week. Likewise, Flynn has not provided any information about the alleged subpoena

to telecommunications providers—specifically, whether such a subpoena imposes any

imminent deadlines for the production of documents. Thus, on this record, there is no

basis to conclude that Flynn will face “immediate and irreparable” harm before

Defendants have an opportunity to respond to his request for injunctive relief. Fed. R.

Civ. P. 65(b)(1)(A).

      For these reasons, the Motion for Temporary Restraining Order is denied

without prejudice. Flynn may refile his Motion if he believes that he can comply with

the procedural requirements discussed above. Of course, if the Select Committee

attempts to expedite the response dates for document requests from Flynn or for the

third-party subpoenas, Flynn may seek appropriate relief from the Court. If Flynn

chooses to renew his request for a temporary restraining order, he must adequately

explain why injunctive relief is necessary before Defendants have an opportunity to

respond. Alternatively, Flynn may pursue his Motion for Preliminary Injunction in

the ordinary course following service of the Complaint on Defendants.




                                          5
Case 8:21-cv-02956-MSS-SPF Document 15 Filed 12/22/21 Page 6 of 6 PageID 165




      Accordingly, it is hereby ORDERED that Plaintiff’s Time-Sensitive Motion for

Temporary Restraining Order, (Dkt. 4), is DENIED WITHOUT PREJUDICE.

      DONE and ORDERED in Tampa, Florida, this 22nd day of December 2021.




Copies furnished to:
Counsel of Record
Any Unrepresented Party




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